CaSe 2:15-Cr-OOOl4-APG-VCF
Omar Qazz`

Document 401 Filed 02/23/18 Page 1 of 25

_`,_`____

__111111 ` ' "`Ti::¢
__ENTERED :"` 3;§§,{",_',`;

CUUNSH/P

N.S.D.C.

   

10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

2190 E. Mesquite Ave.

Pahrump, Nevada

UNITED STATES OF AMERICA
Persecutor,
vs.
Omar Qazl`
Accused.

 

 

 

Pursuant to Federal Ru]es of Evidence Rule 201 .

   

FEB 2 3 2038

 

nms cF acme §

   

eLERK us nimmer 001 1
BY_ nrstRn:roF NEMAM
L.` .`_`H____-_'h -_--`WVV\Y""."

UNITED STATES DISTR.ICT COURT

DISTR]CT OF NEVADA

**z’i

Case No. 2:1 5 -cr-O()O l 4-APG-VCF

JUDICIAL NOTICE OF BAD BEHAVIOUR

(Federal Rules of Evidenee Rule 201)

Certification: This Judicial Notice is being filed timely.

COMES NOW, 0mar Qazi, Sui Juris, by Special Appearance, hereby filing this Judicial Notiee of Bad

Behaviour. For the reasons outlined below, I request this court to take Judicia] Notice of all these facts

 

 

10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

Case 2:15-cr-OOOl4-APG-VCF Document 401 Filed 02/23/18 Page 2 of 25
JUDICIAL NOTICE

This court held an evidentiary hearing on August 03, 2016 (Transcript ofProceedings - Dkt.#

215) (hereinaiter "TOP") (See Exhibit #1, containing relevant portions, pgs. 70-81.) This hearing was in

regards to several Miranda Issues, and it is important to note that the government stated that they will be

addressing three issues at this hearing (1) the Mz'randa warnings in terms of sufficiency; (2) whether the

tdefendant needed to be re-Mirandized; and (3) general voluntariness See TOP at 70- 71.

 

However, this Judicial Notice will be specifically pertaining to the issue of voluntariness and the
court's intentional hinderance of a defense, without a fair opportunity to develop a full record of facts, all
in a clear violation of the fundamental right to Due Process, and rulings of the U.S. Supreme Court. The
United States Supreme Court has stated: "[W]here specific allegations before the court show reason to
believe that the petitioner may, if the facts are fully developed, be able to demonstrate that he is . . .
entitled to relief, it is the duty of the court to provide the necessary facilities and procedures for an
adequate inquiry." Bracy v. Gramley, 520 U.S. 899, 909 (1997), citing Harris v. Nelson, 394 U.S. 286,
300 (1969).

ln Dl<t. # 204, l had informed the court1

"At the recent Evidentiary Hearing regarding the Miranda issue, l told Ms. Waldo that l

wanted to testify at the Hearing and 1 was never asked by the Court if l wanted to testify,

because I would have if I was given the opportunity to do so. My testimony would have

proved several material facts..." Id. at 6.

Then in Dkt.# 228, I filed a Motion to Continue the Hearing, so that 1 can testify, and call
detective Kitchen to the stand for several reasons:

"l want the opportunity to testify, as it should be my right. My testimony also would have

provided several crucial facts..." "the evidentiary hearing should also be continued so that

Detective Kitchen's testimony can be heard and examined..." "Detective Kitchen'S

testimony would also play a big role in determining my demeanor during the interrogation,

if 1 was actually in a custodial interrogation (which is explained in a separate Motion -

Motion to Review Stricken Doclcet # 174), which oHicers were present and if he had shown

me a card which had details about a firearm on it. " Id. at 2.

 

 

10
11
12
13
14
15
16
17
13
19
20
21
22
23
24
25
26
27

28

Case 2:15-cr-OOOl4-APG-VCF Document 401 Filed 02/23/18 Page 3 of 25
However, the Court denied these necessary facilities and procedures for an adequate inquiry. lf I

was granted an extended evidentiary hearing in the interest ofjustice, the court would have considered
my state cfmind, and Detective Kitchen's coercive tactics under the totality of circumstances, which
ultimately forced an involuntary admission
Nonetheless, l had provided an Affidavit to the court, which was attached to Dkt.# 343, at 10-11,
where l mentioned, inter alia:
[I]f the 9th Circuit was to somehow rule in favor of the government (which is impossible), the
Court must then remand to the District Court for another evidentiary hearing on whether the
statement was voluntary or involuntary. A waiver of Miranda rights must be voluntary,
knowing, and intelligent See Moran v. Burbine, 475 U.S. 412, 421, 106 S. Ct. 1135, 89 L. Ed.
2D 410 (1986).
The accused clearly briefed some of the voluntariness issues (Dkt.# 191, at 2) and attempted to
argue this issue at the evidentiary hearing regrding Miranda rights (Dkt.# 198). Nonetheless.
the District Court mainly specified the hearing on the sufficiency of the Miranda warning
briefed in Dkt.# 192. However, this Court must be advised that this evidentiary hearing was
originally held due to Dkt. #129, Dkt.# 153, and related papers.'['he Magistrate Judge also
voiced his concern at the hearing regarding the voluntariness of the stateman and the accused
also expected to testify on this matter, but was not given an opportunity to do so.
The accused also maintains that when Ofiicer Glover originaiy read the Miranda Wamings, he
did not reply that he understood those rights Also, ex-detective Michael Kitchen's demeanor
was not only threatening but his actions were also deceptive and coercive given the totality of
the circumstances First, ex-Detective Kitchen was wearing a ski mask when he interrogated
the accused. He was not in uniform nor did he have a badge that indicated he was an officer
and/or Detective. Next, the accused was taken quite a distance away from where he was
detained by officers; and the accused did not know who Mr. Kitchen was or what his intentions
were given his state of dress and the fact that the accused was pulled away from the scene near
an unmarked SUV at nighttime. Also, during the interrogation, Mr. Kitchen advised that the

decision as to whether the accused needed to go to jail rested on the “conversation” with Mr.

 

 

 

 

10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

 

Case 2:15-cr-00014-APG-VCF Document 401 Filed 02/23/18 Page 4 of 25
Kitchen. Throughout the interrogation, the accused repeatedly expressed that he did not want

to go to jail. Mr. Kitchen allowed the accused to falsely believe that if he cooperated and
provided a statement, he could avoid going to jail. That was never going to be the case, a fact
Mr. Kitchen was fully aware of prior to the interrogation Mr. Kitchen capitalized on the
accused’s fear of going to jail in order to coerce him into making incriminating statements
Furthermore, he implied a promise that if you cooperate now, it will work out for you. Mr.
Kitchen then retrieved an index card fi'om his left pocket with the details of the firearm on it
and proceeded to show the accused those details and took the approach that: I know it's yours,
if it's not yours it's your mother's gun.

These types of tactics were made to secure a confession through deception and coercion by
also implying that if you don't confess to possessing this gun, then your mother may be
charged Therefore, even if Mr. Kitchen did not show the accused the details of the firearm, the
accused still would have felt compelled to confess in those circumstances, because his will
would have been overborne at that point. Law enforcement officials cannot extract a
confession "by any sort of threats or violence, or by any direct or implied promises, however
slight, or by the exertion of any improper influence." quoting Hutto v. Ross, 429 U.S. 28, 30,
97 S. Ct. 202, 50 L. Ed. 2d 194 (1976). False promises or threats may also render a confession
invalid. See, e.g., Rogers v. Richmond, 365 U.S. 534, 541-45, 81 S. Ct. 735, 5 L. Ed. 2d 760
(1961) (accused's confession was coerced when it was obtained in response to a police threat to
take defendant’s wife into custody); Lynumn v. lllinois, 372 U.S. 528, 534, 83 S. Ct. 917, 9 L.
Ed. 2d 922 (1963) (confession was found to be coerced when police officers told the accused
that state financial aid for her infant children would be cut oti`, and her children taken from her,
if she did not cooperate); Spano v. New York, 360 U.S. 315, 323, 79 S. Ct. 1202, 3 L. Ed. 2d
1265 (1959) (confession was found to be coerced when police officers instructed the accused's
childhood friend to falsely state the accused‘s telephone call had gotten him into trouble, that
his job was in jeopardy, and that loss of his job would be disastrous to his three children, his
wife, and his unborn child).

To ensure due process, the test for determining the voluntariness of a suspect's confession is

 

 

10
11
12
13
14
15
16
17
13
19
20
21
22
23
24
25
26
27
28

 

 

Case 2:15-cr-00014-APG-VCF Document 401 Filed 02/23/18 Page 5 of 25
whether, considering all the circumstances, the government obtained the statement by physical

or psychological coercion or by inducement so that the suspect's will was overcome See
United States v. Coutchavlis, 260 F.3d 1149, 1158 (9th Cir. 2001) (citing Haynes v.
Washington, 373 U.S. 503, 513-14, 83 S. Ct. 1336, 10 L. Ed. 2D 513 (1963)). In determining
the voluntariness of a confession, a court "examines whether a defendant‘s will was overborne
by the circumstances surrounding the giving of a confession." Dickerson v. United States, 530
U.S. 428, 434, 120 S. Ct. 2326, 147 L. Ed. 2d 405 (2000). "'I'he line of distinction is that at
which governing self-direction is lost and compulsion, of whatever nature or however infused,
propels or helps to propel the confession." Culombe v. Connecticut, 367 U.S. 568, 602, 81 S.
Ct. 1860, 6 L. Ed. 2D 1037 (1961). "In short the true test of admissibility is that the confession
is made freely, voluntarily, and without compulsion or inducement of any sort." Haynes, 373
U.S. at 513-14.

A waiver of Miranda rights "is knowing and intelligent if`. under the totality of the
circumstances, it is made with a full awareness of both the nature of the right being abandoned
and the consequences of the decision to abandon it." United States v. Rodriguez-Preciado, 399
F.3d 1118, 1127 (9th Cir. 2005) (citations and quotations omitted). Therc is a presumption
against waiver, and the Government bears the burden of proving a valid waiver by a
preponderance of the evidence. See Colorado v. Connelly, 479 U.S. 157, 168, 107 S. Ct. 515,
93 L. Ed. 2d 473 (1986); United States v. Bernard S., 795 F.2d 749, 751 (9th Cir. 1986). "There
is a presumption against waiver . . . which the Government bears the burden of overcoming by
a preponderance of the evidence." United States v. Crews, 502 F.3d 1130, 1139-40 (9th Cir.
2007). The government can satisfy this burden by “prov[ing] that, under the totality of the
circumstances, the defendant was aware of the nature of the right being abandoned and the
consequences of such abandonment" Id. at 1140. "T`he government's burden to make such a
showing is great, and the court will indulge every reasonable presumption against waiver of`
fundamental constitutional rights.“ Garibay, 143 F.3d at 537 (internal quotation marks
omitted).

The reviewing court looks at "the totality of all the surrounding circumstances - both the

 

 

10
ll
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27

28

 

Case 2:15-cr-00014-APG-VCF Document 401 Filed 02/23/18 Page 6 of 25
characteristics of the accused and the details of the interrogation." Schneckloth v. Bustamonte,

412 U.S. 218, 226, 93 S. Ct. 2041, 36 L. Ed. 2d 854 (1973). Indeed, the court should take into
account a multitude of factors as part of its evaluation See, e.g., Withrow v. Williams, 507
U.S. 680, 693, 113 S. Ct. 1745, 123 L. Ed. 2d 407 (1993) (potential circumstances to consider
include police coercion; the length, location, and continuity of the interrogation; the
defendants maturity, education, physical condition, and mental health; and "the failure of
police to advise the defendant of his rights to remain silent and to have counsel present Mg
custodial interrogation") (emphasis added); Schneckloth, 412 U.S. at 226 (the court must
examine "the factual circumstances surrounding the confession, assess[] the psychological
impact on the accused, and evaluate[] the legal significance of how the accused reacted"]. The
Supreme Court has observed that "[t]he application of these principles involves close scrutiny
of the facts of individual cases." Gallegos v. Colorado, 370 U.S. 49, 52, 82 S. Ct. 1209, 8 L.
Ed. 2D 325 (1962)

0verall, the Miranda warnings given were clearly insufficient under Miranda. Under the
totality of these circumstances, there is also no way that the statement was voluntary, and a full

evidentiary hearing would have to be conducted to decide this matter properly.

However, those facts provided in the Affidavit were never addressed or opposed Additiona|ly, at :`

the unfairly limited evidentiary hearing, the government brought up the voluntariness argument and
initially, the Magistrate acted concerned about the mask covering detective Kitchen's face, when he
mentioned:

THE COUR'I': You know, the mask is a little disconcerting, I

would think,- right? TOP ar 74.

 

Thereafter, the following argument ensues:

MS. MICHAEL: Correct, Your Honor. But in terms of the
defendant being scared or threatened --

THE COURT: Oh.

MS. MICHAEL: ~~ the defendant ~~ we don't know the

defendant's state of mind.

 

10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

 

Case 2:15-cr-00014-APG-VCF Document 401 Filed 02/23/18 Page 7 of 25
THE COURT: State of mind. All right. True.

MS. MICHAEL: So -- so what the Government is arguing is that
what we do have and what is required under the case law is to
look at the totality of the circumstances, Obviously the
Government's required to show that the waiver was voluntary.
However, if the defense is trying to say that -- I'm sorry, a
statement was obtained involuntarily, they have to show
coercion on behalf of law enforcement, and just making
arguments that, you know, someone felt threatened or
uncomfortable or didn't know if he was law' enforcement or
not, I don't believe that's what the totality of the
circumstances or the evidence provided to the Court supports.
It is quite a high -- a high standard, Your Honor,and I do
have a few cases that I -- that I can note in terms, Your
Honor, where confession is involuntarily coerced, either by
physical intimidation cr psychological pressure, Wh.ich is
United States vs. Haswood, 350 F.3d 1024, 1027, Ninth
Circuit. "In determining whether defendant's confession was
voluntary, the question is whether the defendant's will was
overborne at the time he confessed." That's Clark vs. Murphy,
331 F.3d 1062, at 1072, Ninth Circuit. There's additional
quotations for that. And the -- "In the end result, we rLst
consider the totality of the circumstances involved and their
effect upon the will of the defendant," and that's U.S. vs.
Crawford, which is also a Ninth Circuit case that was citing
-- I'm sorry, Schneckloth vs. Bustamonte but, I guess my
point, Your Honor, is that just based -- based what's on --

what's on the record, and that's why I specifically wanted to

 

 

10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

 

Case 2:15-cr-00014-APG-VCF Document 401 Filed 02/23/18 Page 8 of 25
play the defendant's statement - TO.P at 75-76.

 

Thereby, the government admitted that they had a high burden to show that a confession was
voluntary, and they clearly haven't met that burden. My testimony would have provided my "state of

mind," and it was required that the court "must consider the totality of the circumstances involved and

2004). However, the court did not consider how my will was overborne. and how the questioning

affected my will.

Nonetheless, it is quite interesting that the magistrate acknowledged sua sponte that there was a

serious issue with the questioning by Kitchen which influenced the admission, when he stated:

THE COURT: I mean, it was certainly an admission that was
motivated by the questioning, but there must be a line there
in the -- in the continuum of getting someone to talk. And,
you know, there's no question . . . "Your kids are in the
next room and I'm not going to let them out until you tell
me." All right. But, you know, that wasn't -- clearly not

that. But it is on the continuum here. I have to give it some

serious thought. TOP¢ at 78.

Furthermore, the most disturbing part of this hearing is the following discussion:

MS. MICHAEL: -- and experience in the past as to whether,
you know, this is a law enforcement officer taking advantage
of let's say a juvenile, or taking advantage of someone who
has never had any contact with law enforcement before, or --
you know, or doing it down at a station house, in a more

custodial setting. Those are scenarios where I believe

courts have found that that is what pressures someone to
confess. Because the whole point is, no one wants

confession that is not -- that is not credible.

THE COURT: Let me -- let me just maybe redirect thing_s a

l
their effect upon the will of the defendant." See United States v. Crawt`ord, 372 F.3d 1048, 1060 (9th Cir. l

 

 

10
11
12
13
14
15
16
17
18
19
20
21
22
23
24

25

26

27

28

not have been pursued if the court also held my statements to be involuntary Due to the court's

 

Case 2:15-cr-00014-APG-VCF Document 401 Filed 02/23/18 Page 9 of 25
little bit.

MS. MICI-IAEL: Yes, Your Honor.

THE COURT: If -- of course, if l' were to find that the
standard Miranda card that was used back then, you know,
doesn't comport with Ninth Circuit case law and so it wasn't
a good enough warning, the content of the warning was
defective, then the voluntariness is no longer an issue;

right? I mean, that's the end of the inquiry. So why don't

 

you focus on that. TOP, a t 80-81 . j

By this discussion, it is evident that the Magistrate did not want this hearing to get fully involved i
in the voluntariness issue, and directs the attorneys to focus on the sufficiency ofthe Miranda warning n
instead. Even the government was insinuating that the confession may not have been credible, and was
suggesting the court to inquire further on this specific matter, as required by law. Instead the magistrate
went beyond his judicial authority, and became a second prosecutor in violation of the law.

This was judicial misconduct by both ofthe judges in this case, by not allowing me to testify on
my own behalf, not knowing my state of mind, knowing well that I wanted to testify, and for not
continuing the hearing to have detective Kitchen testify; all of this being unfairly executed in a clear
violation of Due Process, and Constitutionally protected rights.

"The fundamental requirement of due process is the opportunity to be heard at a meaningiill time
and in a meaningful manner." Mathews v. Eldridge, 424 U.S. 319, 333, 96 S. Ct. 893, 47 L. Ed. 2d 18
(1976) (quoting Armstrong v, Manzo, 380 U.S. 545, 552, 85 S. Ct. 1187, 14 L. Ed. 2D 62 (1965)).
Government actions which "offend the canons of decency and fairness" violate the due process
protection ofthe Constitution." Rochin v. Califomia, 342 U.S. 165, 169. 72 S. Ct. 205, 96 L. Ed. 183
(1952)

This issue can not be ignored simply because the Miranda Wa;rning was deficient The

governments current appeal in the Ninth Circuit based on the defective Miranda warning would

intentional hinderance, in violation of the Sixth Arnendment to the Constitution, I was notable to

 

10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27

Case 2:15-cr-00014-APG-VCF Document 401 Filed 02/23/18 Page 10 of 25
present these facts I have been awaiting the governments appeal since January 04, 2017, without

a projected trial date; due in part, to the court's actions

Additionally, the U.S. Supreme Court in United States v. Loud Hawk, 474 U.S. 302, 88 L. Ed. 2d
640, 106 S. Ct. 648 (1986), held that "a delay resulting from an appeal would weigh heavily against the
Govcrnment if the issue were clearly tangential or frivolous." Id. at 315-16, Additionally, a crucial factor
in Loud Hawk was whether the record showed "bad faith or dilatory purpose on the Government's part."

g Id. at 316. In this case, the record clearly reflects bad faith, and a dilatory purpose on the governments
ipart.

These actions by the judges, demonstrates a sample of the Bad Behaviour, among the many
instances of this behaviour occuring in the case at hand, which are unlawful violations of the
Constitution for the United States ofAmerica.'

CONCLUSION

For the reasons mentioned above, I request this court to take J udicial Notice of all these facts

 

 

 

Pursuant to Federal Rules of Evidence Ruie 201 , and request the Chief District Judge for the District of
Nevada to reassign different judges to this case, further directing a new districtjudge to hold an
evidentiary hearing on the specific voluntariness issue refrenced above.
1 declare under penalty of perjury under the law of the State of Nevada that the foregoing is true

and correct, and that this document is executed without the benefit of a notary pursuant to NRS 208.165, 1
as I am a prisoner confined in a private prison within this state ofNevada.
Executed on February 20, 2018.

Respectf`ully submitted,

All Rights Reserved and Mthout Pre_iudice,

Omar Qazc'

Signed:

 

1 "The Judges, both of the supreme and inferior Courts, shall hold their Ojfices during good Behaviaur." Article III.
§ l (emphasis added)

 

 

 

 

Case 2:15-cr-00014-APG-VCF Document 401 Filed 02/23/18 Page 11 of 25

EXHIBIT #l

Case 2:15-cr-00014-APG-VCF Document 401 Filed 02/23/18 Page 12 of 25
Case 2:15-cr-00014-APG-VCF Document 215 Filed 1011-4116 Page 70 of 98

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

 

TRANSCRIBED FROM DIGITAL RECORDING

70

(Proceedings resumed at 11:53:17 a.m.)

COURTROOM ADMINISTRATOR: Please riSe.

THE COURT: Thank you. Please be seated.

COURTROOM ADMINISTRATOR: This is the conclusion of
USA vs. Omar Qazi, 2:15-cr-14-APG-VCF.

THE COURT: Hope -- hopefully it's the conclusion. I
realize that we need to talk, I guess, briefly about
Detective Kitchen. Do you still think you need to ca11 him for
any reason, Ms. Waldo?

MS. WALDO: Not at this time, Your Honor.

THE COURT: Okay. So it is the conclusion.

So, as I said, the Government has the burden. So,
I'11 hear from the Government first on the issue of the timing
of the warning and also its content.

MS. MICHAEL: Yes, Your Honor.

Your Honor, I had sort of prepared to address all
three. So, as l understand it, we had the three issues in
front of us; the Miranda warnings in terms of sufficiency.
However, we've established what those warnings are. We've
briefed them. And that's really a question of law at this
point. There was also -~

THE COURT: Sufficiency. Okay. Sufficiency is one.

MS. MICHAEL: There was also the issue of whether the
defendant needed to be re-Mirandized, which, again, the

Government's position is that's a legal issue and 1 do believe

 

HEATHER K. NEWMAN ~ (702) 471-0002

 

Case 2:15-cr-00014-APG-VCF Document 401 Filed 02/23/18 Page 13 of 25
Case 2:15-cr-00014-APG-VCF Docurnent 215 Filed 10/14/16 Page 71 of 98

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

 

TRANSCRIBED FROM DIGITAL RECORDING

71

both parties argued it. However, the Government still stands
by the fact that the defense or defendant has not provided any
case law to support that that was required, whereas the
Government did provide case law saying --

THE COURT: Hold on. What's the third issue then?

MS. MICHAEL: The third issue is -- is sort of the
general voluntariness --

THE COURT: Voluntariness. Oh, okay.

MS. MICHAEL: -- the Government believes. So I guess
I just parsed them out to try and keep it -- the argument --

THE COURT: No. That's fine. Let's do all three.
Perfect. Yes.

MS. MICHAEL: But obviously the voluntariness sort of
plays in to the others as well.

THE COURT: Um-hmm.

MS. MICHAEL: But, um . . . but, again -- yeah.
Again, in terms of the re-Mirandizing being required, I don't
believe defense has provided any case law that supports that
that had to have been done in this case. But I guess,
Your Honor, that plays in to this -- the facts and
circumstances.

As it stands, I do believe both parties are in
agreement on the facts and circumstances in the sense of the
time frame between when the defendant received Miranda rights

from Officer Glover and then the time that he was interviewed

 

HEATHER K. NEWMAN - (702) 471"0002

 

Case 2:15-cr-00014-APG-VCF Document 401 Filed 02/23/18 Page 14 of 25
Case 2:15-cr-00014-APG-\/CF Document 215 Filed 10/14/16 Page 72 of 98

10

11

12

13

14

15

16

17

19

19

20

21

22

23

24

25

 

TRANSCRIBED FROM DIGITAL RECORDING

72

by Detective Kitchen. There is that difference in time frame.
The difference in location, which now has been a little more
explained on the record by use of the body camera footage and
by the witnesses, which I believe feeds into the Government's
argument that it wasn't a significant change in location. lt
wasn't a significant change in terms of who was present.

And just generally, in terms of there being some sort
of break in the time frame or the encounter the defendant was
having with law enforcement, again, I don't believe that there
have been any facts on this record to show that there was any
substantial break in time, location, and again, as the
Government had provided in the case law, even if there's a
change in who the defendant's speaking with, that doesn't
create a problem in terms of him having to be re~Mirandized by
the new individual. So, Your Honor, I do believe the facts
that have been put forth on the record from witnesses and from
the evidence do support that he did not to be -- did not need
to be re-Mirandized.

Now, Your Honor --

THE COURT: Hold on. Hold on. Hold on a minute.

MS. MICHAEL: Oh, yes. Of course.

THE COURT: So, while we're on that part, I -- I was
trying to listen and pay attention. You know, we certainly
know what time he was Mirandized. It seems very clear that it

was at 1609. That's on Exhibit 1, I think; right?

 

HEATHER K. NEWMAN - (702) 471-0002

 

Case 2:15-cr-00014-APG-VCF Document 401 Filed 02/23/18 Page 15 of 25
Case 2:15-cr-00014-APG-VCF Document 215 Filed 10/14/16 Page 73 of 98

10
11
12
13
14
15
16
17
18
19
20
21
22
23
24

25

 

TRANSCRIBED FROM DIGITAL RECORDING

73

Let me see . . . 1553 was the stop and .

MS. MICHAEL: Five lines down I do believe it says
1609. That's what Officer Glover testified -- or
Detective Glover testified to.

THE COURT: Oh, yeah. Read Miranda 1609.

Now, what time did -- you know, can we pick out a
time when the interview started? The transcript, you know, a
lot -- it says 1913 hours.

MS. MICHAEL: And I did -- I did actually confer with
defense counsel to make sure that we were understanding. We
both utilized that time frame.

THE COURT: Okay.

MS. MICHAEL: However, since then we've also
discovered that the date on there unfortunately appears to be
incorrect, but we were both utilizing that time frame for our
argument, so that's what we had both relied upon.

THE COURT: You know what? We can sort of

double-check to the extent this -- these Exhibits 1 and 2 are

in here.

MS. MICHAEL: Yes.

THE COURT: Let's see . . . it shows that ~- looks
like Kitchen ~~ the first time his name shows up is 1854.
Kitchen and Rotta show up and then 1 -- I mean, I don't know

what all these codes are, but that's the first time he shows up

and . . . that would make about -- that would make about right.

 

HEATHER K. NEWMAN - (702) 471-0002

 

Case 2:15-cr-00014-APG-VCF Document 401 Filed 02/23/18 Page 16 of 25
Case 2:15~cr-00014-APG-VCF Document 215 Filed 10/14/16 Page 74 Of 98

10
11
12
13
14
15
16
17
15
19
20
21
22
23
24

25

 

TRANSCRIBED FROM DIGITAL RECORDING

74

MS. MICHAEL: Correct.

THE COURT: So l --

MS. MICHAEL: And that's what defense counsel was
just pointing out, that it appears to be an accurate time frame
based on when you look at it, in connection with the CAD --

THE COURT: Okay.

MS. MICHAEL: -- and the unit log.

THE COURT: So I'm going to find that the warning was
at 1609 and the interview started at 1913. Okay. Great.

Go ahead.

MS. MICHAEL: And then, Your Honor, I do believe the
last sort of set of facts that were presented by defense
counsel, again, the Government was interpreting that as a
voluntariness argument where defense was talking about what
Detective Kitchen was wearing, whether he identified himself as
a police officer, the facts --

THE COURT: You know, the mask is a little
disconcerting, I would think; right? I mean, where -~ what's
a -- you know, a citizen is arrested and then, you know, Rotta
shows up. Apparently he's got the badge, so that's a little

reassuring but then he brings him over to some character in --

you know, with a -- with a -- hiding his face. I mean, that --
isn't that -- wouldn't that cause you concern if you were the
defendant?

MS. MICHAEL: Well, Your Honor, l -- perhaps. But

 

HEATHER K. NEWMAN - (702) 471~0002

 

Case 2:15-cr-00014-APG-VCF Document 401 Filed 02/23/18 Page 17 of 25
Case 2:15-cr-00014-APG-VCF Document 215 Filed 10/14/16 Page 75 of 98

10
11
12
13
14
15
16
17
18
19
20
21
22
23
24

25

 

TRANSCRIBED FROM DIGITAL RECORDING

75

the problem is there hasn‘t been that information placed on the
record, in terms -- it was just an argument. No one is --

THE COURT: No. No. He -- he said -- because
Officer -- or Officer Rotta said that it was standard practice
for this detective, because he was an undercover detective, he
had distinctive facial hair and things of that nature, that he
would hide his face when he would interview a witness.

MS. MICHAEL: Correct, Your Honor. But in terms of
the defendant being scared or threatened --

THE COURT: Oh.

MS. MICHAEL: -- the defendant -- we don't know the
defendant's state of mind.

THE COURT: State of mind. All right. True.

MS. MICHAEL: So -- so what the Government is arguing
is that what we do have and what is required under the case law
is to look at the totality of the circumstances. Obviously the
Government's required to show that the waiver was voluntary.
However, if the defense is trying to say that -- I'm sorry, a
statement was obtained involuntarily, they have to show
coercion on behalf of law enforcement, and just making
arguments that, you know, someone felt threatened or
uncomfortable or didn‘t know if he was law enforcement or notr
1 don't believe that's what the totality of the circumstances
or the evidence provided to the Court supports.

It is quite a high -- a high standard, Your Honor,

 

HEATHER K. NEWMAN ~ (702) 471~0002

 

Case 2:15-cr-00014-APG-VCF Document 401 Filed 02/23/18 Page 18 of 25
Case 2:15-cr-00014-APG-VCF Document 215 Filed 10/14!16 Page 76 of 98

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

 

TRANSCRIBED FROM DIGITAL RECORDING

76

and I do have a few cases that l -- that I can note in terms,
Your Honor, where confession is involuntarily coerced, either
by physical intimidation or psychological pressure, which is
United States vs. Haswood, 350 F.3d 1024, 1027, Ninth Circuit.
"In determining whether defendant's confession was voluntary,
the question is whether the defendant's will was overborne at
the time he confessed." That's Clark vs.vMurphy, 331 F.3d
1062, at 1072, Ninth Circuit. There's additional quotations
for that, And the -- "In the end result, we must consider the
totality of the circumstances involved and their effect upon
the will of the defendant," and that's U.S. Vs. Crawford, which
is also a Ninth Circuit case that was citing -- I'm sorry,
Schneckloth vs. Bustamonte but, I guess my point, Your Honor,
is that just based -- based what's on -- what‘s on the record,
and that's why I specifically wanted to play the defendant's
statement --

THE COURT: Um-hmm.

MS. MICHAEL: -- so Your Honor could hear the
demeanor of Detective Kitchen and the response of the
defendant -- I mean, there's -- there's quite a few facts that
support that it was not coerced.

THE COURT: Um-hmm.

MS. MICHAEL: The casualness of the encounter.

Your Honor can hear the tone of Detective Kitchen and the tone

of the defendant. I mean, if he was so scared, he doesn't

 

HEATHER K. NEWMAN - (702) 471-0002

 

Case 2:15-cr-00014-APG-VCF Document 401 Filed 02/23/18 Page 19 of 25
Case 2:15-cr~00014-APG-VCF Document 215 Filed 10/14/16 Page 77 of 98

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

 

TRANSCRIBED FROM DIGITAL RECORDING

77

scream out for help. He doesn't say, "Who are you? What‘s
happening?" There's -- there's nothing to indicate that. He's
been in police custody the entire time. I mean, even based on
the defendant's statement himself, this is not his first
encounter with law enforcement. He did ask questions of the
patrol units. I'd say it would be unreasonable for anyone to
assume that some random person is going to show up with a mask
and ask them questions and then provide personal information
such as your date of birth, Social Security number, your ---
your prior criminal history. You know, he knows he's talking
to a police officer. And I think it's very clear from how he
responds that he's not threatened or coerced into doing
anything. I understand, Your Honor, that some of the tactics
may not be looked upon favorably by some individuals, but none
of the interrogation -- none of the ways that Detective Kitchen
interrogated him, according to, again, case law, are a problem.
He didn't make --

THE COURT: Well, yeah. I -- yeah. Because I -- I
think, you know, naturally when you're reading along with the
transcript and you're hearing the words, and there's no
question that the detective was a very experienced
interviewer/interrogator and he used his experience to motivate
the defendant to change his position. Because at the beginning
he was saying, "No, I don't know anything about it," you know,

the car was maybe broken into, "I never" -- and then, of

 

HEATHER K. NEWMAN ~ (702) 471-0002

 

Case 2:15-cr-00014-APG-VCF Document 401 Filed 02/23/18 Page 20 of 25
Case 2:15-cr-00014-APG-VCF Document 215 Filed 10/14/16 Page 78 of 98

10

11

12

13

14

15

16

17

lB

19

20

21

22

23

24

25

 

TRANSCRIBED FROM DIGITAL RECORDING

78

course, at the end of the time he changed his story and
obviously he wouldn't have changed his story had not Detective
Kitchen sort of taken him down the road. But the question is,
is that -- I think what you're saying, does that really amount
to making it an involuntary admission.

MS. MICHAEL: Correct.

THE COURT: I mean, it was certainly an admission
that was motivated by the questioning, but there must be a line
there in the -- in the continuum of getting someone to talk.
And, you know, there's no question . . . “Your kids are in the
next room and I'm not going to let them out until you tell me."
All right. But, you know, that wasn't -- clearly not that.

But it is on the continuum here. l have to give it some
serious thought. So, go ahead and finish --

MS. MICHAEL: Oh -- I'm --

THE COURT: -- but I just want to let you know where
I'm going here.

MS. MICHAEL: Understood, Your Honor.

And I think what, again, helps in terms of facts at
looking at that, look at where the interview took place.

THE COURT: Um-hmm.

MS. MICHAEL: You know, it's outside. It's in the
presence of two officers. Look at the length of the interview.
We're talking about 19 minutes, at most. We're not talking

about hours and hours of a detective going over and over

 

HEATHER K. NEWMAN - (702) 471-0002

 

Case 2:15-cr-00014-APG-VCF Document 401 Filed 02/23/18 Page 21 of 25
Case 2:15-cr-00014-APG-VCF Document 215 Filed 10/14/16 Page 79 of 98

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

 

TRANSCRIBED FROM DIGITAL RECORDING

79

something.

Also look at the language in the questions that are
used. Detective Kitchen doesn't particularly change anything
he's asking or saying at the point that the defendant does, in
fact, confess. You know, the defendant felt strong enough or
comfortable enough to deny it all the way up to about -- until
about 15 minutes into the interview, and there's nothing
particular that Detective Kitchen does or changes in the way of
his interrogation that causes the defendant to change his
answer. lt‘s almost surprising. You almost miss it when you
read the transcript --

THE COURT: Well --

MS. MICHAEL: -- because he just says, "How long have
you had the gun?“ and all of a sudden he says, "Oh, I don't
know, two or three weeks." I mean, there's --

THE COURT: A couple of weeks. Yeah.

MS. MICHAEL: -- there's -- there's -- it really is
something you could almost miss if you were not specifically
looking for it because -- because of how the conversation
occurred. So I think those are the factors that are really
important to look at, you know, the time frame, the questions,
the demeanor, the location.

You know, and even when he gave that responser it
didn't -- again, you know, the -- it's not like the detective

smelled blood or anything and kept asking and getting more

 

HEATHER K. NEWMAN ~ (702) 471-0002

 

Case 2:15-cr-00014-APG-VCF Document 401 Filed 02/23/18 Page 22 of 25
Case 2:15-cr-00014-APG-VCF Document 215 Filed 10/14!16 Page 80 of 98

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

 

TRANSCRIBED FROM DIGITAL RECORDING

80

aggressive. He just asked him a couple more follow-up
questions, you know, about the gun and continued.

And he didn't specifically make any promises or
threats. Obviously they talk generally about individuals
cooperating or not cooperating. You know, and again, this is
an individual -~ and this is from his statement -- who has had
encounters with law enforcement before and throughout that
talks about understanding the circumstances and understanding
the Situation. So, that is part of the Court's analysis, it
Can be, is the defendant's personal history --

THE COURT: Um-hmm.

MS. MICHAEL: -- and experience in the past as to
whether, you know, this is a law enforcement officer taking
advantage of let’s say a juvenile, or taking advantage of
someone who has never had any contact with law enforcement
before, or -- you know, or doing it down at a station house, in
a more custodial setting. Those are scenarios where l believe
courts have found that that is what pressures someone to
confess. Because the whole point is, no one wants a confession
that is not -- that is not credible.

THE COURT: Let me -- let me just maybe redirect
things a little bit.

MS. MICHAEL: Yes, Your Honor.

THE COURT: lf -- of course, if l were to find that

the standard Miranda card that was used back then, you know,

 

HEATHER K. NEWMAN ~ (702) 471-0002

 

Case 2:15-cr-00014-APG-VCF Document 401 Filed 02/23/18 Page 23 of 25
Case 2:15-cr-00014-APG-VCF Document 215 Filed 10/14/16 Page 81 of 98

10
11
12
13
14
15
16
17
18
19
20
21
22
23
24

25

 

TRANSCRIBED FROM DIGITAL RECORDING

81

doesn't comport with Ninth Circuit case law and so it wasn’t a
good enough warning, the content of the warning was defective,
then the voluntariness is no longer an issue; right? l mean,
that's the end of the inquiry.

So why don't you focus on that.

MS. MICHAEL: On that. Yes, Your Honor. l can do
that.

And, Your Honor, in terms of the Miranda issue, what
I'd like to point outr you know, obviously l understand that
defense counsel has briefed this, but I do believe their
briefing and argument is a little bit misguided. Miranda
analysis by courts, it's not a one-size-fits-all type of
scenario. l think the courts have been very clear that there
are four rights that Miranda requires and l just -- you know,
Your Honor, I'm just going to read them real quickly.

THE COURT: Okay.

MS. MICHAEL: That the defendant has the right to --

THE COURT: Take your time.

MS. MICHAEL: That's okay.

That the defendant has the right to remain silent;
that anything he says can be used against him in a court of
law; that he has the right to the presence of an attorney; and
that if he cannot afford an attorney, one will be appointed for
him prior to any questioning if he so desires.

THE COURT: Yeah, but there is that Ninth Circuit

 

HEATHER K. NEWMAN ~ (702) 471-0002

 

Case 2:15-cr-00014-APG-VCF Document 401 Filed 02/23/18 Page 24 of 25
Certif'lcate of Service

I hereby certify that on February 20, 2018, I mailed my Judicial Notice of Bad Behaviour, to
the following:

Clerk of the Court

Lloyd D. George U.S. Courthouse
333 Las Vegas Blvd. South, R.m. 1334
Las Vegas, Nevada

*Copy of Receipt Requested*

Omar Qazi

N.S.D.C.

2190 E. Mesquite Ave.
Pahl'urnp, Nevada

 

 

 

,,.,.§ § nw n…,.v...ha‘

 

. _ § OO_._,mm_uOJQm:mm O:.@_: Cmvom~.>om
_\ .- :f.? § _... § _ memo 263 m am$:~_.o: \m re
QSPS,.\ ®PN_ . lawn=#<. ._.Jm JQ_:< mm _ WM».HMMQ
W 0 0 :o_.. _.mmoo:m_.c_m ino_, .. .h... . .l||izm.aa $Qame||ema il
z ._ . . . gm nosem:$ Jm_.mi:
\.v\» j o m. §.w@c;e ><n,

QN\M._\MEm .

oww> comamwmmw\_

a
“
a

ms_\_,_)\s\_m t >\m\§s`s
Nl.m 955 §§m+ov§§_ew.w~b

 

Qo¢¢ nw_.m,\`A Oh +_£\ DQC»¢.'\

Do.>\+r¢cwm\
to a e_ 509 c.w_
www\r)w <Qo& _,w?:». UG.§PSLWW$

him ,\mUPm \ >\h_\€h» _..h|.%n:e_lw

as _ _

 

 

 

 

